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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

WESTERN WATERSHEDS PROJECT,                        Case No. 2:19-cv-0750-SI
CENTER FOR BIOLOGICAL
DIVERSITY, and WILDEARTH                           OPINION AND ORDER
GUARDIANS,

        Plaintiffs,

 v.

DAVID BERNHARDT, Secretary of the
Interior, JEFFREY ROSE, District Manager
Burns District Bureau of Land Management,
and BUREAU OF LAND MANAGEMENT,

        Defendants.


David H. Becker, LAW OFFICE OF DAVID H. BECKER, LLC, 4110 SE Hawthorne Blvd. No. 168,
Portland, OR 97214; Talasi B. Brooks, WESTERN WATERSHEDS PROJECT, INC., P.O. Box 2863,
Boise, ID 83701; Paul David Ruprecht, WESTERN WATERSHEDS PROJECT, INC., PO Box 12356,
Reno, NV 89510. Of Attorneys for Plaintiffs.

Billy J. Williams, United States Attorney, and Stephen J. Odell, Assistant United States
Attorney, UNITED STATES ATTORNEY’S OFFICE, 1000 SW Third Avenue, Suite 600, Portland, OR
97204. Of Attorneys for Defendants.

Michael H. Simon, District Judge.

       Plaintiffs bring this action challenging Defendants’ grant of a renewed Grazing Permit

(the “Permit”) to Hammond Ranches, Inc. (“HRI”) on four allotments—Mud Creek, Hammond,

Hammond FFR, and Hardie Summer. Plaintiffs argue that then-Secretary of the Interior Ryan

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Zinke1 and Defendant Bureau of Land Management (“BLM”) acted arbitrarily and capriciously

in violation of the Administrative Procedures Act (“APA”)2 because they failed to follow the

requirements of the National Environmental Policy Act of 1969 (“NEPA”),3 the Federal Land

Policy and Management Act of 1976 (“FLPMA),4 and applicable BLM regulations. Plaintiffs

allege that Defendants violated these statutes and regulations when Secretary Zinke ordered that

HRI’s previous grazing permit be renewed without conducting the analyses required by the

FLPMA, BLM regulations, and NEPA, and under the 2015 Oregon Greater Sage-Grouse

Approved RMP Amendment (“GSG-ARMPA”). Plaintiffs also allege that Defendants violated

these statutes when BLM issued a categorical exclusion environmental review and approval

(“CX”) and the approved Permit without performing the required analyses.

       Plaintiffs filed a motion for temporary restraining order (“TRO”) and preliminary

injunction to enjoin grazing on the four allotments. On June 4, 2019, the Court granted Plaintiffs’

motion for a TRO and enjoined grazing on the Mud Creek and Hardie Summer allotments

through July 2, 2019. The TRO was extended until July 17, 2019 at 5:00 p.m., by the stipulation

of the parties. Before the Court is Plaintiffs’ amended motion for preliminary injunction,

requesting an order enjoining Defendants from allowing turnout and grazing of livestock on the

Mud Creek and Hardie Summer allotments until the Court resolves the merits of this case. It is

the parties’ and the Court’s intention to resolve the merits of the case before the 2020 grazing

season begins.


       1
           Defendant David Bernhardt is the current Secretary of the Interior.
       2
           5 U.S.C. §§ 701 et seq.
       3
           42 U.S.C. §§ 4321 et seq.
       4
           43 U.S.C. §§ 1701 et seq.

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       HRI’s cattle are currently on the Hammond and Hammond FFR allotments. The cattle

have not yet entered the Mud Creek or Hardie Summer allotments. Thus, the requested

injunction would not require any cattle be removed from either allotment.

       Defendants respond to Plaintiffs’ motion for a preliminary injunction primarily by

arguing that Plaintiffs have not demonstrated that they will suffer irreparable harm on the Hardie

Summer allotment5 in the absence of preliminary relief. Defendants also argue Plaintiffs fail to

show that they are likely to succeed on the merits of their claims and that the balance of the

equities and public interest considerations support issuing a preliminary injunction. On June 28

and July 2, 2019, the Court held an evidentiary hearing on Plaintiffs’ motion.

       At the beginning of the hearing on June 28th, Defendants proposed an alternative grazing

plan for the Court’s consideration. Under this proposed amended grazing plan, there would be no

authorized grazing on the Mud Creek allotment except for when the cattle “quickly and

methodically trail through” to get to the Hardie Summer allotment.6 On the Hardie Summer

allotment, the pasture known as Fir Creek7 would be rested, and the remaining pastures would be


       5
          Defendants did not present evidence or argument regarding irreparable harm on Mud
Creek in response to this motion, although Defendants provided such information in response to
Plaintiffs’ motion for a TRO.
       6
         Defense counsel only proposed trailing through the Mud Creek allotment “to get to
Hardie Summer.” The Court’s order will permit “trailing through” also to return from the Hardie
Summer allotment if needed, but will limit the total number of days cattle may be in the Mud
Creek allotment due to the extremely poor condition of the allotment and the presence of the
sage-grouse lek on the allotment.
       7
         At the hearing, counsel described the pasture as “Fir Creek No. 4,” but in the exhibits
submitted to the Court the pasture is referenced as “Fir Creek.” See, e.g. ECF 24, 40. The Court
believes the reference to “number four” is meant to indicate that Fir Creek is the fourth of the
five pastures in the Hardie Summer allotment. The Court references the pasture as it is described
in the exhibits—“Fir Creek.” To the extent there is, however, a difference between “Fir Creek”
and “Fir Creek No. 4,” the Court intends for the rested pasture to be the pasture referenced by
counsel at the hearing.

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grazed at a 30 percent utilization standard instead of the 50 percent utilization standard

authorized in the Permit. For the reasons discussed below, the Court grants in part Plaintiffs’

motion for a preliminary injunction. The Court enjoins any turnout and grazing beyond the

amended grazing plan proposed by Defendants at the beginning of the June 28, 2019 hearing.

                                            STANDARDS

A. Motion for a Preliminary Injunction

        A preliminary injunction is an “extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Defense Council,

Inc., 555 U.S. 7, 22 (2008). A plaintiff seeking a preliminary injunction generally must show

that: (1) he or she is likely to succeed on the merits; (2) he or she is likely to suffer irreparable

harm in the absence of preliminary relief; (3) the balance of equities tips in his or her favor; and

(4) that an injunction is in the public interest. Id. at 20 (rejecting the Ninth Circuit’s earlier rule

that the mere “possibility” of irreparable harm, as opposed to its likelihood, was sufficient, in

some circumstances, to justify a preliminary injunction).

        The Supreme Court’s decision in Winter, however, did not disturb the Ninth Circuit’s

alternative “serious questions” test. All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-32

(9th Cir. 2011). Under this test, “‘serious questions going to the merits’ and a hardship balance

that tips sharply toward the plaintiff can support issuance of an injunction, assuming the other

two elements of the Winter test are also met.” Id. at 1132. Thus, a preliminary injunction may be

granted “if there is a likelihood of irreparable injury to plaintiff; there are serious questions going

to the merits; the balance of hardships tips sharply in favor of the plaintiff; and the injunction is

in the public interest.” M.R. v. Dreyfus, 697 F.3d 706, 725 (9th Cir. 2012).




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B. National Environmental Policy Act

       NEPA “is our basic national charter for protection of the environment.” 40 C.F.R.

§ 1500.1(a).8 “NEPA requires that ‘to the fullest extent possible . . . all agencies of the Federal

Government shall’ complete an environmental impact statement (EIS) in connection with ‘every

recommendation or report on proposals for legislation and other major Federal actions

significantly affecting the quality of the human environment.’” San Luis & Delta-Mendota Water

Auth. v. Jewell, 747 F.3d 581, 640-41 (9th Cir. 2014) (alteration in original) (quoting 42 U.S.C.

§ 4332(2)(C)). “In addition to the proposed agency action, every EIS must ‘[r]igorously explore

and objectively evaluate all reasonable alternatives’ to that action. 40 C.F.R. § 1502.14(a). The

analysis of alternatives to the proposed action is ‘the heart of the environmental impact

statement.’” Ctr. for Biological Diversity v. U.S. Dep’t of Interior, 623 F.3d 633, 642 (9th

Cir. 2010) (second citation omitted). The purpose of NEPA is twofold: “(1) to ensure that

agencies carefully consider information about significant environmental impacts and (2) to

guarantee relevant information is available to the public.” N. Plains Res. Council, Inc. v. Surface

Transp. Bd., 668 F.3d 1067, 1072 (9th Cir. 2011). “In order to accomplish this, NEPA imposes

procedural requirements designed to force agencies to take a ‘hard look’ at environmental

consequences.” Lands Council v. Powell, 395 F.3d 1019, 1027 (9th Cir. 2005) (citation omitted).




       8
          The Council on Environmental Quality promulgates regulations implementing NEPA
(40 CFR Parts 1500-1508) that are binding on federal agencies and are given substantial
deference by courts. See Cal. ex rel. Imperial Cnty. Air Pollution Control Dist. v. U.S. Dep’t of
the Interior, 767 F.3d 781, 789 n.3 (9th Cir. 2014) (given substantial deference by courts);
ONRC Action v. Bureau of Land Mgmt., 150 F.3d 1132, 1138 n.3 (9th Cir. 1998) (binding on
federal agencies).

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C. Federal Land Policy and Management Act and BLM Regulations

       Grazing on federal lands is governed by, among other statutes and regulations, the Taylor

Grazing Act of 19349 (“Taylor Grazing Act”) and the FLPMA. The Taylor Grazing Act requires

persons seeking to graze livestock on public lands to obtain a permit from the Department of the

Interior. The Taylor Grazing Act provides for the “orderly use, improvement, and development

of the range” on public lands. 43 U.S.C. § 315a. “The Taylor Grazing Act authorized the

Secretary of the Interior ‘to issue or cause to be issued permits to graze livestock’ pursuant to

‘his rules and regulations.’” United States v. Estate of Hage, 810 F.3d 712, 717 (9th Cir. 2016)

(quoting 43 U.S.C. § 315b). “[T]he implied license under which the United States has suffered

its public domain to be used as a pasture for sheep and cattle . . . was curtailed and qualified by

Congress, to the extent that such privilege should not be exercised in contravention of the rules

and regulations.” United States v. Grimaud, 220 U.S. 506, 521 (1911) (citation omitted).

       The goals of the Taylor Grazing Act “are to ‘stop injury’ to the lands from ‘overgrazing

and soil deterioration,’ to “provide for their use, improvement and development,” and ‘to

stabilize the livestock industry dependent on the public range.’” Pub. Lands Council v. Babbitt,

529 U.S. 728, 733 (2000) (quoting 48 Stat. 1269). “As grazing allocations were determined, the

Department would issue a permit measuring grazing privileges in terms of ‘animal unit months’

(AUMs), i.e., the right to obtain the forage needed to sustain one cow (or five sheep) for one

month.” Id. at 735; see also 43 C.F.R. § 4100.0-5 (defining AUM).

       The FLPMA provides additional direction for the management of public lands. “In

enacting FLPMA, ‘Congress declared that it is the policy of the United States to manage the

public lands in a manner that will protect the quality of scientific, scenic, historical, ecological,


       9
           43 U.S.C. § 315 et seq.

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environmental, air, and atmospheric, water resource, and archeological values.’” W. Watersheds

Project v. Kraayenbrink, 632 F.3d 472, 498-99 (9th Cir. 2011) (quoting Ctr. for Biological

Diversity v. U.S. Dep’t of Interior, 581 F.3d 1063, 1075 (9th Cir. 2009)). The FLPMA instructs

that permits for grazing on public lands ordinarily shall be issued for a 10-year term, subject to

such terms and conditions as BLM deems appropriate and consistent with governing law. 43

U.S.C. § 1752(a). The FLPMA also establishes that a permittee holding an expiring grazing

permit will be given first priority for renewal if the permittee “is in compliance with the rules

and regulations issued [by the Secretary] and the terms and conditions of the permit.” 43 U.S.C.

§ 1752(c).

        BLM has issued regulations to implement the Taylor Grazing Act and the FLPMA. 43

C.F.R. §§ 4100-4190.1 (2005).10 BLM’s regulations specify “mandatory qualifications” for an

applicant for a permit for grazing on public lands. 43 C.F.R. § 4110.1. These include that any

applicant for renewal of a grazing permit “must be determined by the authorized officer to have a

satisfactory record of performance.” Id. § 4110.1(b) (emphasis added). The regulations further

provide that the authorized officer “will determine whether applicants for the renewal of

permits . . . and any affiliates, have a satisfactory record of performance,” and that “[t]he

authorized officer will not renew . . . a permit . . . unless the applicant and all affiliates have a

satisfactory record of performance.” Id. § 4130.1-1(b) (emphasis added). A satisfactory record

means that the applicant is in “substantial compliance with” regulations applicable to the

permit. Id. § 4130.1-1(b)(1)(i). “The authorized officer may take into consideration



        10
           Although BLM issued amended regulations in 2006, those regulations have been
enjoined by the U.S. District Court for the District of Idaho, see W. Watersheds Project v.
Kraayenbrink, 538 F. Supp. 2d 1302 (D. Idaho 2008), and are not in effect for the relevant BLM
field office.

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circumstances beyond the control of the applicant or affiliate in determining whether the

applicant and affiliates are in substantial compliance with permit or lease terms and conditions

and applicable rules and regulations.” Id. § 4130.1-1(b)(1)(ii).

        BLM regulations applicable to a grazing permit prohibit: “(3) Cutting, burning, spraying,

destroying, or removing vegetation without authorization”; and “(4) Damaging or removing U.S.

property without authorization.” Id. § 4140.l(b). BLM also has regulations applicable to

preventing wildfires, which apply to users of public lands, including grazing permit holders.

These regulations prohibit, without authorization, a user to: “[c]ause a fire, other than a campfire,

or the industrial flaring of gas, to be ignited by any source; [b]urn, timber, trees, slash, brush,

tundra or grass except as used in campfires; [l]eave a fire without extinguishing it; [or] [r]esist or

interfere with the efforts of firefighter(s) to extinguish a fire.” Id. § 9212.1(a), (c), (d), (f).

        FLPMA also directs BLM to develop and maintain comprehensive Resource

Management Plans (“RMPs”) that govern all aspects of public land management, including

grazing administration. 43 U.S.C. § 1712. Grazing permits must be consistent with RMPs. 43

U.S.C. § 1732(a); 43 C.F.R. § 4100.0-8. RMPs constrain grazing permits by determining where

grazing will or will not be allowed and by setting environmental standards that grazing permits

must meet. See 43 U.S.C. § 1732(a) (requiring management “in accordance with the [RMPs]”);

id. § 1752(c)(1) (conditioning renewal of grazing permits on lands remaining available for

grazing in accordance with RMPs).

        The land use plans covering the four allotments at issue in this case are the Steens

Mountain Cooperative Management and Protection Area (“CMPA”) Resource RMP and the

Andrews Management Unit RMP, both approved in July 2005. In 2015, both of these RMPs

were amended by the Oregon GSG-ARMPA. The GSG-ARMPA defines various categories of



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important sage-grouse habitat requiring special protection and consideration, including Priority

Habitat Management Areas (“PHMAs”), General Habitat Management Areas (“GHMAs”), and

Sagebrush Focal Areas (“SFAs”), which are a subset of PHMAs. PHMAs are “BLM-

administered lands identified as having the highest value to maintaining sustainable [greater

sage-grouse] populations.” GHMAs are “BLM-administered lands where some special

management will apply to sustain [greater sage-grouse populations; areas of occupied seasonal or

year-round habitat outside of PHMA[s].” SFAs are areas that “represent recognized strongholds

for [greater sage-grouse].”

       The 2015 GSG-ARMPA also specifies certain “Management Decisions.” One of these

requires that any “NEPA analysis for renewals . . . of livestock grazing permits/leases that

include lands within SFA and PHMA will include specific management thresholds based on

[greater sage-grouse] Habitat Objectives . . . Land Health Standards . . . and ecological site

potential, and one or more defined responses that will allow the authorizing officer to make

adjustments to livestock grazing that have already been subjected to NEPA analysis.”

D. Administrative Procedures Act

       Neither NEPA nor the FLPMA provide a separate standard of review. Thus, claims under

these Acts are reviewed under the standards of the APA. See Jewell, 747 F.3d at 601 (NEPA);

Mont. Wilderness Ass’n v. Connell, 725 F.3d 988, 994 (9th Cir. 2013) (FLPMA). Under the

APA, “an agency action must be upheld on review unless it is ‘arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.’” Jewell, 747 F.3d at 601 (quoting 5 U.S.C.

§ 706(2)(A)). A reviewing court “must consider whether the decision was based on a

consideration of the relevant factors and whether there has been a clear error of judgment.” Id.

(quotation marks and citation omitted). The reviewing court’s inquiry must be “thorough,” but

“the standard of review is highly deferential; the agency’s decision is entitled to a presumption of
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regularity, and [the court] may not substitute [its] judgment for that of the agency.” Id. (quotation

marks and citation omitted).

          Although a court’s review is deferential, the court “must engage in a careful, searching

review to ensure that the agency has made a rational analysis and decision on the record before

it.” Nat’l Wildlife Fed. v. Nat’l Marine Fisheries Serv., 524 F.3d 917, 927 (9th Cir. 2007). “[T]he

agency must examine the relevant data and articulate a satisfactory explanation for its action

including a ‘rational connection between the facts found and the choice made.’” Motor Vehicle

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quoting

Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)); see also Brower v.

Evans, 257 F.3d 1058, 1067 (9th Cir. 2001) (“The presumption of agency expertise can be

rebutted when its decisions, while relying on scientific expertise, are not reasoned.”). The

reasoned-decisionmaking requirement, the Supreme Court has often observed, includes a duty to

explain any “departure from prior norms.” Atchison, Topeka & Santa Fe Ry. Co. v. Wichita Bd.

of Trade, 412 U.S. 800, 808 (1973); see also Int’l Union, UAW v. NLRB, 802 F.2d 969, 973-74

(7th Cir. 1986) (“[A]n administrative agency is not allowed to change direction without some

explanation of what it is doing and why.”). A court also “must not ‘rubber-stamp’ . . .

administrative decisions that [it] deem[s] inconsistent with a statutory mandate or that frustrate

the congressional policy underlying a statute.” Ocean Advocates v. U.S. Army Corps of

Engineers, 402 F.3d 846, 858 (9th Cir. 2005) (first alteration in original, remaining alterations

added).

                                       FINDINGS OF FACT

          Based on the evidence presented by the parties, the Court finds the following facts are

more likely true than not:



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Background of HRI’s Permit

       1.      HRI is a family-owned Oregon ranching corporation. Its shareholders are Steven

Dwight Hammond, his wife Earlyna Hammond, and his parents Dwight Lincoln Hammond and

Susan Hammond, through their Trust. Steven Hammond is the President of HRI, Dwight

Hammond is the Vice President, and Earlyna Hammond is the Secretary.

       2.      HRI began grazing on public BLM lands in 1964. Before the Permit at issue in

this case, the most recent permit granted to HRI was Permit No. 3602564, which had a term from

March 1, 2004 to February 28, 2014. This permit authorized, for each year: 68 cattle and 471

AUMs on Hammond, from April 1 to October 30; 32 cattle and 32 AUMs on Hammond FFR,

from April 1 to April 30; 390 cattle and 590 AUMs on Mud Creek, from May 16 to June 30;

and 408 cattle and 407 AUMs on Hardie Summer, from July 1 to September 30.

       3.      On February 14, 2014, BLM denied HRI’s Application for Permit Renewal. BLM

explained that under its regulations permit holders and their “affiliates” must be in compliance

with the rules and regulations issued by the Secretary of the Department of the Interior and the

terms and conditions in the permit. BLM found that Steven Hammond and Dwight Hammond

were affiliates of HRI. BLM also found that their criminal convictions for intentionally setting

fires on public lands violated the regulations prohibiting cutting, burning spraying, destroying, or

removing vegetation without authorization and damaging or removing U.S. property without

authorization. 43 C.F.R. § 4140.1. BLM further concluded that the Hammonds’ conduct

violated 43 C.F.R. § 9212.1(a), (c), (d), and (f).

       4.      BLM summarized in detail the witness testimony at the criminal trial, and

characterized this testimony as demonstrating “how the Hammonds violated BLM grazing

regulations and the terms of [HRI’s] grazing permit, endangered the lives of numerous



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individuals, including firefighters, and altered ecological conditions on public lands.” BLM

described testimony of the Hammonds lighting multiple fires.

         5.     Steven Hammond was convicted of two counts, one relating to a 2001 fire and

one relating to a 2006 fire. Dwight Hammond was convicted of one count, relating to a 2006 fire.

The jury acquitted the Hammonds of several charges. The jury could not reach a verdict on

several charges and the judge instructed the jury to continue deliberations on those charges.

While the jury was deliberating, the prosecution and defense reached an agreement and the trial

ended.

         6.     In reaching its final decision in 2014 denying HRI’s application to renew Permit

No. 3602564, BLM accepted the sworn testimony at trial and, after a “thorough[] review[],”

rejected the protest filed by HRI that the sworn testimony was inaccurate or incomplete.

         7.     BLM concluded that HRI and its affiliates had an unsatisfactory record of

performance. BLM stated: “The Hammond fire-setting maliciously and knowingly placed public

recreationists, firefighters, and BLM range staff at high risk just to further [HRI’s] grazing

interests.” BLM also noted that the “Hammonds set the fires because they disagreed with how

BLM managed the land. The Hammonds acted in the interest of improving the rangeland forage

for their cattle, but not necessarily for other resources like wildlife habitat.”

         8.     BLM concluded that each criminal conviction, standing alone or in combination,

constitutes an unsatisfactory record of performance. BLM explained:

                The Hammonds’ malicious disregard for human life and public
                property shows contempt for BLM regulation of public land. The
                Hammonds’ interference with firefighting efforts is antithetical to
                orderly use of resources. The Hammonds’ disregard for orderly
                and planned prescribed burning that accounts for ecological
                objectives and human safety is incompatible with the orderly use
                and improvement of resources. The BLM carefully plans and
                conducts prescribed burns to meet ecological objectives, such as

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                retaining sagebrush and bitterbrush habitat. By taking matters into
                their own hands and burning public lands outside of the official
                BLM process, the Hammonds altered the Burns District’s
                prescribed fire management strategy for years to come. Good
                stewardship is more than just producing grass for livestock—it
                requires orderly conduct that protects the multiple objectives of
                public lands and the lives of those who work and recreate on public
                lands.

       9.       BLM also concluded that the Hammonds’ “additional fire-setting described in the

criminal trial,” outside of their criminal convictions, constituted an unsatisfactory record of

performance. BLM found that “the testimony shows a pattern of intentional fire-setting by

Dwight and Steven Hammond—beyond the fires for which they were convicted—demonstrating

their callous disregard for human life and BLM multiple use objectives for the land.”

       10.      HRI appealed BLM’s decision and sought a stay of the decision. On April 28,

2014, the Office of Hearings and Appeals (“OHA”) denied the Hammonds’ motion for a stay and

BLM’s decision went into effect. OHA found that the criminal convictions were sufficient to

establish violations of governing regulations. OHA also found that BLM correctly relied on other

evidence of “multiple instances of the Hammonds setting fires to eliminate juniper for the

purpose of increasing forage for their cattle” and held that their “pattern of starting fires that

damage vegetation on public lands and endangers lives is sufficiently serious to warrant permit

non-renewal.”

       11.      HRI appealed the stay denial to the Interior Board of Land Appeals, and it

affirmed the denial of the stay. Meanwhile, in the appeal the OHA was considering, the assigned

judge was evaluating whether to have the case proceed to summary judgment or directly to a

hearing. Industry trade organizations began lobbying then-Secretary of the Interior Zinke and

President Donald J. Trump. Between May and November 2018, briefs were filed before the

assigned OHA judge.


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       12.     On July 10, 2018, President Trump issued Executive Grants of Clemency,

pardoning Steve and Dwight Hammond for their crimes and commuting their sentences. Steve

Hammond had served three years of his five-year sentence and Dwight Hammond had served

four years of his five-year sentence.

       13.     On December 28, 2018, Secretary Zinke exercised his authority to assume

jurisdiction over the appeal the OHA was considering. On January 2, 2019, his last day in office,

Secretary Zinke issued his decision. He set out the factual and procedural history of the case in

slightly more than one page, the applicable law in slightly more than one page, and his analysis

in one paragraph. Secretary Zinke’s analysis, in its entirety, states:

               I find that the pardons constitute unique and important changed
               circumstances since the BLM made its decision. In light of the
               Grants of Executive Clemency, the years of imprisonment, and
               civil damages paid by the Hammonds, I find that it is consistent
               with the intent of the pardons—and in particular their reflection of
               the President’s judgment as to the seriousness of the Hammonds’
               offenses—to renew the Hammonds’ permit for the duration of the
               term that would have commenced in 2014. The Hammonds’
               continuance of grazing will depend on compliance with BLM’s
               grazing regulations. I do not find fault with BLM’s assessment of
               the law and facts in its 2014 Decision and I reiterate BLM’ s
               concern for human safety on public lands. The safety of our
               Nation’s firefighters and others working and recreating on public
               lands remains paramount. I will ask BLM to keep the Office of the
               Secretary apprised of any permit compliance and human safety
               issues.

       14.     Secretary Zinke concluded his decision by remanding “the matter to BLM with

instructions to renew, within 30 days of the date of this decision, the permit under the same terms

and conditions for the balance of the renewal period.”

       15.     On February 5, 2019, BLM Rangeland Management Specialist Jamie McCormack

circulated a memorandum to Burns District Manager Jeffrey Rose. This memorandum noted that

Secretary Zinke had directed BLM to renew the Permit under the same terms and conditions as


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the previous permit. The memorandum stated that BLM had conducted standards and guidelines

assessments and evaluations in 2018 on the four allotments, standards were being achieved

except the standard relating to species, the failure of that standard was not caused by grazing, and

thus the Permit qualified for a CX under the FLPMA, which constitutes compliance with NEPA.

Mr. Rose concurred with this conclusion.

       16.     The CX was dated February 1, 2019, but signed on February 4 and 5, 2019. It

concluded that “the proposed action did not trigger any of the extraordinary circumstances

described in 43 C.F.R. § 46.215.” The CX also concluded that the Permit was “in conformance

with the [land use plans], qualifies as a categorical exclusion, and does not require further NEPA

analysis.”

       17.     On February 13, 2019, Jeffrey Rose of BLM and Steve Hammond of HRI signed

the Permit, with an effective date of February 1, 2019 through February 28, 2024.

       18.     BLM did not complete an EIS or environmental assessment (“EA”) analyzing the

Permit’s proposed grazing on the allotments, or any alternatives. There is no evidence in the

record that BLM previously conducted an EA or an EIS with respect to any earlier permits.

Plaintiffs’ Receipt of Permit and CX

       19.     On January 29, 2019, counsel for Plaintiff Western Watersheds Project (“Western

Watersheds”) noted the media coverage of Secretary Zinke’s decision and asked the Department

of the Interior and BLM for a copy of that decision. Both agencies provided a copy that same

day. BLM noted, however, that they had just received the decision and “the details of how we

will implement this decision have not been finalized.”

       20.     Plaintiffs requested copies of documents relating to the decision, including a copy

of the Permit, and submitted a request under the Freedom of Information Act (“FOIA”). On



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March 25, 2019, Plaintiffs again requested a copy of the Permit, noting that Western Watersheds

had not yet received a copy. BLM responded that because Western Watersheds had submitted a

FOIA request, the information would be provided under that request.

       21.     On April 1, 2019, counsel for Western Watersheds responded to BLM, noting that

the statutory deadline under FOIA had expired without a response, BLM had indicated it would

not provide any response to the FOIA request until May 22, 2019, Western Watersheds believed

it had a right to the information as an “interested party” under BLM regulations, and it would be

a simple matter to email a copy. BLM provided a copy of the Permit and CX to Western

Watersheds on April 1, 2019.

       22.     Although the Permit authorized grazing to begin on April 1, HRI began grazing

on March 25, 2019. No application for different use than is authorized by the Permit, which is

required by the Permit before such changed use can begin, was provided to the Court.

       23.     The Permit authorized 68 cattle and 471 AUMs on the Hammond allotment.11

BLM “orally” authorized an increase of up to 490 cattle. No application for different use than is

authorized by the Permit, which is required by the Permit before such changed use can begin,

was provided to the Court. BLM later realized they had “miscalculated” that this number of

cattle would comply with the Permit’s limitation of 471 AUMs, and thus noted that HRI’s total

AUMs were in excess of the Permit.

       24.     BLM issued letters to HRI adjusting the time frame and number of cattle that

could be grazed on the Mud Creek and Hardie Summer allotments, in part due to this litigation.




       11
          The Hammond allotment is authorized for grazing for seven months and is designated
as 99 percent active. Thus, the total AUMs are calculated at 68 (cows) times 7 (months) times
.99 equals 471.

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Characteristics of the Allotments

       25.     The Mud Creek allotment is approximately 8,200 acres, all of which is publicly-

owned. It contains streams, including Dry Creek and Mud Creek.

       26.     The Hardie Summer allotment is approximately 9,800 acres, of which

approximately 39 percent is owned by HRI and 61 percent (6,000 acres) is publicly-owned. The

allotment is subdivided into five pastures on which the cattle rotate during grazing. The Bridge

Creek pasture is publicly-owned, the Cabin pasture is nearly equally owned between BLM and

HRI, and the North, Fir Creek, and Sylvies pastures are predominantly owned by HRI.

       27.     The Hardie Summer allotment also contains five streams, consisting of 3.3 miles

of publicly-owned streams with riparian habitat. These streams are: Big Fir Creek, Little Fir

Creek, Fish Creek, Lake Creek, and Big Bridge Creek. Big Fir Creek and Little Fir Creek are

perennial streams with a significant portion (about half) on public land. Fish Creek is on private

land and about 90 percent of Lake Creek is on private land. Big Bridge Creek is an intermittent

stream that is mostly on private land. These streams are home to redband trout.

       28.     The two allotments lie within the Steens Mountain CMPA. This area was

designated by Congress with the purpose “to conserve, protect, and manage the long-term

ecological integrity of Steens Mountain for future and present generations.” 16 U.S.C. § 460nnn-

12(a). Objectives of this designation include to promote grazing, recreation, historic, and other

uses that are sustainable, and to ensure the conservation, protection, and improved management

of the ecological, social, and economic environment of the CMPA, including geological,

biological, wildlife, riparian, and scenic resources. Id. § 460nnn-12(b)(2), (4).




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        29.        To assess the effects of this grazing, BLM developed a set of standards to

measure the status of the soil, vegetation, riparian areas, and wildlife on the range. The standards

are known as the Standards for Rangeland Health.

        30.        BLM completed evaluations of Standards for Rangeland Health on the Mud

Creek and Hardie Summer allotments in 2007 and 2018. These assessments were performed by

an interdisciplinary team consisting of multiple agency specialists. The 2007 evaluation was

based on data gathered by interdisciplinary teams in 2006, before the fires that had been set by

the Hammonds in August 2006 burned much of the allotments and thus changed their rangeland

characteristics.

        31.        For the Mud Creek allotment, the 2007 evaluation concluded that the allotment

was not meeting two of the five standards, Standard 5 that relates to native species, species listed

under the Endangered Species Act (“ESA”), or locally important species, and Standard 3 that

relates to ecological processes. The 2018 evaluation concluded that the allotment was not

meeting Standard 5. The assessment further noted that an Assessment, Inventory, and

Monitoring project was initiated in 2016 but sage-grouse habitat determinations could not be

completed until the data collection is finished in 2020. Based on available information, BLM

found that sage-grouse habitat overall was rated as “marginal” because of the lack of sagebrush

cover and continuity due to recent fires and juniper encroachment, and the presence of invasive

annual grasses. The evaluation found that sage-grouse habitat exists on the allotment and where

it does, it is suitable for winter, leking,12 nesting, and early spring brood rearing.

        32.        For the Hardie Summer allotment, the 2007 evaluation found that all five

standards were being met. The 2018 evaluation found that the allotment did not meet Standard 5.


        12
             A “lek” is a sage-grouse breeding ground. “Leking” means breeding.

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The Hardie Summer allotment failed this standard because species composition and diversity had

been altered. The assessment noted this alteration was likely caused by juniper encroachment and

fire. The assessment also noted that although there were no known sage-grouse leks on the

allotment, “year-round habitat for sage-grouse does occur where sagebrush is present.” ECF 39-2

at 3. The assessment further noted that an Assessment, Inventory, and Monitoring project was

initiated in 2016 but sage-grouse habitat determinations could not be completed until the data

collection is finished in 2020. Based on available information, BLM concluded that the allotment

offers “suitable year-round conditions for sage-grouse habitat.” This habitat was rated

“marginal” due to the juniper encroachment and the “infestations of invasive annual grasses

within large fire scars adjacent to the allotment.” Id. To meet this Standard, BLM recommended

reducing juniper, reducing habitat loss, and treating invasive grasses. BLM concluded that

grazing was not a causal factor for current habitat conditions.

       33.     The allotments include Greater Sage-Grouse habitats designated in 2015 as

PHMAs and GHMAs. The Mud Creek allotment also includes a sage-grouse breeding ground

(“lek”), known as the South Bridge Creek lek. Two more leks, known as North Bridge Creek

Nos. 1 and 2, lie less than two miles from the Mud Creek, Hammond, and Hammond FFR

allotments and within three miles of the Hardie Summer allotment.

       34.     The Hardie Summer allotment provides year-round habitat for sage-grouse, which

are present at least from June to September.

       35.     The 2006 fire more likely than not set by the Hammonds burned significant

portions of the Mud Creek and Hardie Summer allotments. The Hammonds set the fire to burn

brush and shrubs to increase the area for grass to grow for grazing. Because of the 2006 fire, the




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remaining areas of sagebrush on the Hardie Summer and Mud Creek allotments are of critical

importance to sage-grouse.

        36.      Without active intervention such as planting seedlings, it will take from 50 to 100

years for sagebrush to naturally reestablish in the allotments.

        37.      Grazing reduces the likelihood that sagebrush will reestablish.

        38.      The riparian vegetation on the Hardie Summer allotment is showing signs of

recovery after five years without grazing. Willows are regrowing and regaining their natural

shape rather than a high browse line from grazing. Willows provide bank stability and overhang

hiding cover for fish, are a source of nutrient and insect input critical for trout survival, provide

shade necessary to keep stream temperatures low, and are a nesting and insect source for birds.

They are, however, palatable to cattle later in the grazing season.

        39.      Riparian areas take approximately 20 years to recover from overgrazing and poor

management practices.

        40.      Cattle that graze later in the season, like in the Hardie Summer allotment, are

grazing when many grasses have desiccated and it is hot and thus they are drawn to the cooler,

greener, riparian areas. Mr. Matthew Obradovich, a BLM employee and one of Defendants’

experts who has regularly visited the Hardie Summer allotment, testified that generally by

August 1st the grasses and forbs on the allotment are drying and less attractive to cattle and other

wildlife.

        41.      A single, poorly managed grazing season on Hardie Summer is likely to eliminate

the recovery of the vegetation that has grown during the past five years.




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Sage-Grouse

       42.     The Greater Sage-Grouse is a bird that requires large expanses to meet its

seasonal habitat requirements. The loss of habitat from fragmentation decreases the connectivity

between seasonal habitats, potentially resulting in the loss of population.

       43.     BLM has designated the Greater Sage-Grouse as a “sensitive” species. This

requires that the “species be afforded, at a minimum, the same protections as candidate species

for listing under the ESA; and provides that BLM Field Office managers are responsible for

implementing the policy, including by [e]nsuring actions are evaluated to determine if special

status species objectives are being met.” W. Watersheds Project v. Dyer, 2009 WL 484438, at *8

(D. Idaho Feb. 26, 2009) (quotation marks omitted) (alteration in original).

       44.     The Greater Sage-Grouse requires sagebrush for every part of its life cycle. In

spring, nesting and brood-rearing sage-grouse use sagebrush for cover and forage. In summer,

sagebrush is used for cover and forage as the birds move from nesting and brood-rearing sites to

wetter areas. In the fall and winter, sage-grouse use sagebrush is for food.

       45.     Sage-grouse also require tall grasses for cover and forbs for food in spring and

during nesting and brood-rearing. Forbs also attract insects that are vital to young chicks. Sage-

grouse also rely on the edges of riparian habitats near meadows and stream areas.

       46.     Non-sagebrush habitat, including tall grasses, can provide Sage-grouse nesting

habitat, particularly from April to August.

       47.     BLM personnel have seen male and female sage-grouse in the lek on Mud Creek.

       48.     BLM personnel noted in June 2018 evaluations of the Bridge Creek and Cabin

pastures on the Hardie Summer allotment that sage-grouse use those pastures.




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       49.     Livestock grazing is known to be detrimental for sage-grouse because it reduces

the height and density of grasses and forbs. Livestock grazing also increases susceptibility of

Wyoming big sagebrush ecosystems to cheatgrass invasion as livestock trample biological soil

crusts, suppress native bunchgrasses, and shorten fire-return. Domestic livestock disperse exotic

seeds at about two orders of magnitude greater than do native ungulates, further increasing

cheatgrass spread. Cheatgrass is highly flammable and suppresses sagebrush initiation and

growth.

       50.     The areas containing the South Bridge Creek and North Bridge Creek leks burned

in the 2006 fire that was more likely than not set by the Hammonds. The number of birds

attending the South Bridge Creek lek rebounded after the fire but has again declined. The North

Bridge Creek No. 1 lek is no longer active. The North Bridge Creek No. 2 lek has varied in its

use, generally around the low teens, with 2019 showing nine males using the lek.

Redband Trout

       51.     BLM has designated redband trout as a “sensitive species.”

       52.     Redband trout spawn primarily in spring (March-June) and remain in place until

they migrate in fall. They spawn exclusively in flowing waters. Water temperature and stream

flow affect migration timing. Juveniles migrate downstream to their ancestral lake or river after

one-to-three years in natal areas.

       53.     Redband trout do best in areas with undercut banks, large woody debris, and

overhanging vegetation. A study of redband trout in sagebrush desert basin streams found that

abundance increased as habitat criteria such as stream shading, bank cover and stability, fine

sediment, and cover for adults increased. The study also found that stream shade in the

uppermost 50 meters of a stream would result in the greatest increase in fish density.



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       54.     Although redband trout are more tolerant of higher stream temperatures than other

salmonids, they are still sensitive to water temperature. Their ultimate upper incipient lethal

temperature (“UUILT”) is 26-27℃. Their ideal growth temperature is 13℃. Their optimum

temperature is 18℃. They also rely on macroinvertebrate species that are very sensitive to

temperature change.

       55.     Redband trout suffer sublethal problems at temperatures below the UUILT,

including increased prevalence of disease, inability to feed, swim, or avoid predators, impaired

growth rates, inability to smolt, alteration of smolt timing, and altered balance of competition

with other species.

       56.     Water temperatures in Bridge Creek can reach 24℃ on a hot summer day.

       57.     Livestock grazing is a major source of degradation in the quantity and quality of

riparian habitat and habitat for salmonids. Grazing causes streambank damage, removal of

riparian vegetation, loss of large woody debris, fine sediment delivery, loss of overhanging

banks, increased water temperature, channel widening, shallowing of flow depth, loss of pools,

loss of fish cover structures, degradation of spawning habitat, alteration of food base, trampling

of redds (spawning beds), and reduced dissolved oxygen in redds.

Additional Problems Caused by Grazing

       58.     Grazing late in the season on Hardie Summer occurs when cheatgrass is mostly

dried and less palatable to cattle. Exotic crested wheat grass is also less palatable to cattle. Cattle

generally find native bunchgrasses more palatable.

       59.     Grazing to reduce fire intensity requires a reduction in exotic and invasive

grasses, but that would require that first the native bunchgrasses and forbs be overgrazed, which

is harmful.



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        60.       When too much grazing is allowed after fire damage, cattle will destroy native

vegetation and spread cheatgrass, whereas sagebrush steppe in the absence of grazing is more

fire resistant.

        61.       Livestock grazing has been linked to juniper expansion. Juniper expansion is one

of the reasons the allotments failed Standard 5.

        62.       Properly managed grazing, including grazing at a utilization standard that is

appropriate for the particular allotment and grazing with consideration to the varying palatability

of different forage and the sensitivity and importance, if any, of the riparian zones of a particular

allotment, may reduce the harmful effects from grazing.

        63.       The permitted grazing on Mud Creek and Hardie Summer is likely to cause harm

to Greater Sage-Brush habitat and status by: (1) reducing tall grasses and forbs during breeding

and nesting season in the allotments; (2) reducing cover for nesting hens and chicks to avoid

predation; (3) increasing the spread of cheatgrass; (4) reducing the chances of sagebrush

recovery and increasing the chances of juniper expansion; (5) reducing the forage available to

nesting hens and chicks; (6) creating habitat fragmentation, including with the SFA south of

Steens Mountain; and (7) degrading the riparian areas and wet meadows of the Hardie Summer

allotment. Because of the importance of nesting in the months of June through August, some of

this harm is likely to be immediate. Additionally, because of the fragile state of the lek on Mud

Creek, its connectivity to the surrounding leks, and sensitive status of the Greater Sage-Grouse,

harm to the Mud Creek lek is likely to cause irreparable harm to neighboring leks.

        64.       The permitted grazing is likely to cause harm to redband trout habitat and status

by: (1) increasing water temperature; (2) decreasing willows and other shade-providing cover;

(3) trampling of redds; (4) causing streambank damage; (5) removing riparian vegetation; and



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(6) causing loss of large woody debris. Because the permitted grazing in the Hardie Summer

allotment is late in the season and cattle will be drawn to riparian areas, this harm will be

immediate.

       65.     Defendants’ proposed revised grazing plan that authorizes: (1) no AUMs on the

Mud Creek allotment and allows only expeditious trailing through that allotment; (2) resting the

Fir Creek pasture on the Hardie Summer allotment; and (3) grazing the remaining Hardie

Summer pastures at 30 percent utilization, mitigates the immediate irreparable harm found by the

Court arising from the grazing authorized by the Permit. Although Defendants did not quantify

what 30 percent utilization equates to in terms of number of cattle, if 50 percent utilization across

five pastures allows for 408 cattle, then presumably 30 percent utilization across four pastures

would allow for significantly fewer cattle. The Court accepts Defense counsel’s representation at

the hearing that the proposed “alternative strategy for grazing in the upcoming season . . . would

allow for some grazing to go forward in 2019 on Hardie Summer, but much less than what the

Plaintiffs are seeking to enjoin.” When Defense counsel made this representation, he specifically

acknowledged that Plaintiffs were only seeking to enjoin grazing on the Mud Creek and Hardie

Summer allotments, noting that Plaintiffs “have now indicated they only seek to have this

preliminary injunction address two allotments instead of four, which was the original motion.”

The amended grazing plan therefore mitigates harm to sage-grouse by eliminating nearly all

grazing on the Mud Creek allotment and significantly reducing the grazing on the Hardie

Summer allotment. It also mitigates the irreparable harm to redband trout by eliminating grazing

on a large portion of the Little Fir Creek, and significantly reducing grazing on the remaining

pastures. The Court finds persuasive the expert testimony from both Plaintiffs’ and Defendants’




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experts that a 30 percent utilization standard for the four pastures of the Hardie Summer

allotment for a single season would not cause irreparable harm to sage-grouse or redband trout.

                                   CONCLUSIONS OF LAW

A. Likelihood of Success on the Merits

       Plaintiffs carry the burden at the preliminary injunction stage for the same elements that

they must prove at trial, and Defendants carry the burden for the elements and affirmative

defenses that they must prove at trial. Gonzales v. O Centro Espirita Beneficente UNIAO do

Vegetal, 546 U.S. 418, 429 (2006) (“The point remains that the burdens at the preliminary

injunction stage track the burdens at trial.”). The Court discussed the likelihood of success on the

merits in its Opinion and Order granting Plaintiffs’ TRO (“TRO Opinion”), and will not repeat

that discussion here, other than to address the arguments raised by Defendants.

       1. Secretary Zinke’s Decision and the FLPMA and Regulations

       Defendants first argue that Plaintiffs are not likely to succeed on their challenge to

Secretary Zinke’s decision because it was appropriate for Secretary Zinke to find that HRI had

the requisite satisfactory record of performance in light of the 2018 grants of Executive

Clemency by President Trump. The first problem with this argument is that Secretary Zinke did

not find that HRI and its affiliates had a satisfactory record of compliance. To the contrary,

Secretary Zinke expressly stated that he found no fault with BLM’s 2014 legal and factual

findings, which were that HRI and its affiliates did not have a satisfactory record of compliance

and thus did not qualify for renewal of the permit.

       The second problem with this argument is that a Presidential pardon does not overturn a

judgment of conviction, does not clear a person of the underlying conduct of conviction,

constitutes a confession of guilt, and does not preclude a government agency from considering

the underlying conduct in evaluating permit applications. See Nixon v. United States, 506

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U.S. 224, 232 (1993) (“But the granting of a pardon is in no sense an overturning of a judgment

of conviction by some other tribunal; it is “[a]n executive action that mitigates or sets aside

punishment for a crime.” (emphasis in original) (quoting Black’s Law Dictionary 1113 (6th

ed. 1990)); United States v. Schaffer, 240 F.3d 35, 38 (D.C. Cir. 2001) (“In fact, acceptance of a

pardon may imply a confession of guilt.”); Bjerkan v. United States, 529 F.2d 125 (7th

Cir. 1975) (“A pardon does not ‘blot out guilt’ nor does it restore the offender to a state of

innocence in the eye of the law . . . .”).

        As explained by the Seventh Circuit, if a necessary qualification involves character or

other qualifications that are affected by the underlying conduct regardless of conviction, the

pardon has little effect, whereas when the qualifications are based on the fact of conviction, the

pardon removes disqualification:

                The pardon removes all legal punishment for the offense.
                Therefore if the mere conviction involves certain disqualifications
                which would not follow from the commission of the crime without
                conviction, the pardon removes such disqualifications. On the
                other hand, if character is a necessary qualification and the
                commission of a crime would disqualify even though there had
                been no criminal prosecution for the crime, the fact that the
                criminal has been convicted and pardoned does not make him any
                more eligible.

Yasak v. Ret. Bd. of Policemen’s Annuity & Benefit Fund of Chicago, 357 F.3d 677, 683 n.5 (7th

Cir. 2004) (quoting Bjerkan v. United States, 529 F.2d 125, 128 n.2 (7th Cir. 1975)) (noting that

“the effects of the commission of the offense linger after a pardon, the effects of the conviction

are all but wiped out”) (emphasis added). BLM’s 2014 conclusions, left undisturbed by Zinke,

were based on the conduct and character of the Hammonds in committing the offense, not the

mere fact of the conviction (including conduct for which there was no conviction). Thus,

Plaintiffs are likely to succeed in arguing that the pardons “do[] not make [HRI] more eligible.”

Id.
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       Defendants also argue that Zinke appropriately expressed an awareness that he was

disagreeing with the decision of a subordinate official (the 2014 BLM denial) and set forth the

basis of that disagreement. Zinke, however, did not disagree with anything in the 2014 BLM

denial. He specifically stated that he found “no fault” with that opinion. The only thing different

in Zinke’s opinion was the conclusion to grant the permit renewal, and the only explanation for

that decision was the Presidential pardons, the Hammonds’ (abbreviated) time spent in prison,

and the civil damages paid. Zinke did not: (1) find that the Hammonds were in compliance with

the terms of the permit and the governing rules and regulations; (2) explain why, if he now found

that the Hammonds were in compliance, his finding was different than BLM’s 2014 finding;

(3) explain how, if the Presidential pardons were the basis of any new finding of compliance,

they formed the basis of that finding; (4) address BLM’s 2014 findings relating to conduct other

than the conduct that supported the criminal convictions; or (5) explain how or why the Permit

could issue if he was not finding that Hammonds were in compliance.

       Defendants further argue that it is wholly within the discretion of the Secretary to

determine whether a permittee has a “satisfactory record of performance” under 43 C.F.R.

§§ 4110.1(b) and 4130.1-1(b)(1). Congress, however, has established the requirement that a

permittee be “in compliance with the rules and regulations issued and the terms and conditions in

the permit” before the Secretary can renew a permit. 43 U.S.C. § 1752(c); 43 U.S.C. § 315(b);

see also Hage, 810 F.3d at 717. This requirement mandated by Congress “curtailed and

qualified” the discretion of the Secretary. Cf. Grimaud, 220 U.S. at 521.

       The agency has established that whether a permittee is in “substantial compliance” is to

be determined by considering both “the number of prior incidents of noncompliance,” and “the

nature and seriousness of any noncompliances,” recognizing that the ultimate aim of a BLM



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decision regarding renewal is to use the record of performance “to confirm the ability” of a

permittee “to be a [good] steward of the public land,” and thus “to ensure that permittees . . . are

good stewards of the land,” thereby “protect[ing] [the land] from destruction or unnecessary

injury and provid[ing] for orderly use, improvement, and development of resources.” Grazing

Administration—Exclusive of Alaska (Final Rule), 60 Fed. Reg. 9894, 9925 (Feb. 22, 1995)

(alterations added). The Secretary may not disregard governing statutes and agency regulations

in making discretionary determinations. See, e.g., Erie Boulevard Hydropower, LP v. Fed.

Energy Regulatory Comm’n, 878 F.3d 258, 269 (D.C. Cir. 2017) (“It is axiomatic that an agency

is bound by its own regulations. Therefore, if an agency action fails to comply with its

regulations, that action may be set aside as arbitrary and capricious.” (alteration, quotation

marks, and citation omitted); Nat'l Ass'n of Home Builders v. Norton, 340 F.3d 835, 841, 852

(9th Cir. 2003) (upholding challenge under the APA and finding that “[h]aving chosen to

promulgate the [ ] policy, the [agency] must follow that policy”); Friends of Richards-Gebaur

Airport v. F.A.A., 251 F.3d 1178, 1195 (8th Cir. 2001) (“[A]n agency implementing a statute

may not ignore . . . a standard articulated in the statute.”).

        The Department of Interior and the Secretary is obligated to follow statutory

requirements and agency rules and regulations when making grazing determinations. See

Grimaud, 220 U.S. at 521. Zinke did not perform an analysis of the Hammonds’ number of prior

incidents of noncompliance, the nature and seriousness of the incidents of noncompliance

(particularly the incidents outside of the convictions), evaluate whether the Hammonds would be

good stewards of the land, make a finding of whether the Hammonds were in compliance with

the rules and regulations or terms of the 2004-2014 permit, or otherwise follow the directives of

the governing statutes and regulations. Defendants’ arguments that such findings were made or



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were made “implicitly” are improper post hoc rationalizations. Motor Vehicle Mfrs., 463 U.S. at

50 (noting that “courts may not accept appellate counsel’s post hoc rationalizations for agency

action” and that “[i]t is well-established that an agency’s action must be upheld, if at all, on the

basis articulated by the agency itself”). Accordingly, Plaintiffs have shown a likelihood of

success on their claim that Secretary Zinke’s decision was arbitrary and capricious and otherwise

not in conformance with the law.

        2. Agency Decisions and the GSG-ARMPA

        Plaintiffs allege that Zinke and BLM’s decision violated NEPA, including the particular

NEPA analysis required by the 2015 GSG-ARMPA. Defendants argue that the 2015 GSG-

ARMPA is not applicable to the Permit decision and that if it is, it was sufficiently complied

with.

        Defendants’ first argument is that because the Hammond’s original permit expired in

2014 and was renewed in 2019 based on changed circumstances that arose in 2018, the 2015

GSG-ARMPA amendment should not apply because it was not in effect in 2014 when the

original permit expired. This argument is legally incorrect. Ziffrin, Inc. v. United States, 318

U.S. 73, 78 (1943) (“[A] change of law pending an administrative hearing must be followed in

relation to permits for future acts. Otherwise the administrative body would issue orders contrary

to the existing legislation.”); Kaiser Aluminum & Chem. Corp. v. Bonjorno, 494 U.S. 827, 848

(1990), Scalia, J., concurring (noting that Ziffrin required the administrative agency “to apply

current law (rather than the law in effect at the time of filing of the permit application) in

determining whether the applicant was qualified to obtain a permit for future operations”);

Pentheny, Ltd. v. Gov’t of Virgin Islands, 360 F.2d 786, 790 (3d Cir. 1966) (“[An administrative]

agency is required to act under the law as it stands when its order is entered.”). This makes

particular sense in the context of environmental assessments under NEPA and the GSG-
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ARMPA. These are directed at agency action and are designed to help agency decisionmakers

make fully informed decisions and determine the best course of action, and thus the relevant

statutes and regulations under these laws would be those as of the time the decision (the relevant

action) was made.

       Defendants’ argument not to apply the changed circumstance of the 2015 GSG-ARMPA

also is contrary to their assertion that the agency could review and consider as benefit to the

Hammonds the changed circumstances after 2014 (the pardons, the prison time, the civil

penalties paid). Defendants must be consistent. If the Court and the agency are to consider the

facts as they exist in 2019 when the agency decision was made, that would include the fact that

the GSG-ARMPA was passed in 2015.

       Defendants argue that the 2015 GSG-ARMPA was properly applied because it merely

requires that the NEPA analysis include certain thresholds, and the agency did not need to

prepare a NEPA analysis for the Permit. This issue is discussed below.

       3. Agency Decisions and NEPA

       Plaintiffs challenge Zinke’s and BLM’s actions as violating NEPA. Defendants argue that

the agency was authorized to forego a NEPA analysis under laws allowing for a “NEPA

exclusion” and that BLM complied with NEPA by issuing the CX.

               a. Whether the agency could forego a NEPA analysis

       Defendants contend that under the FLPMA, no NEPA analysis was required to be

prepared before the Permit was renewed. Defendants then characterize this as a “NEPA

exclusion.” The FLPMA was amended on December 19, 2014, establishing that:

               (2) Continuation of terms under new permit or lease

               The terms and conditions in a grazing permit or lease that has
               expired . . . shall be continued under a new permit or lease until the
               date on which the Secretary concerned completes any

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               environmental analysis and documentation for the permit or lease
               required under [NEPA] and other applicable laws.

               (3) Completion of processing

               As of the date on which the Secretary concerned completes the
               processing of a grazing permit or lease in accordance with
               paragraph (2), the permit or lease may be canceled, suspended, or
               modified, in whole or in part.

43 U.S.C. § 1752(c)(2)-(3) (emphasis omitted).13

       Defendants are correct that under the FLPMA, a NEPA analysis is not required to be

completed before a permit is renewed. This is not, however, an exemption or exclusion from the

requirements of NEPA or other applicable laws. This provision merely allows for a “limited

grace period” for the agency to conduct the required environmental analysis. See WWP v.

BLM, 629 F. Supp. 2d 951, 970 (D. Ariz. 2009) (analyzing the nearly identical text of

Section 325); see also W. Watersheds Project v. Zinke, 347 F. Supp. 3d 554, 558 (D. Idaho 2018)

(“Thus, there is no repeal of environmental laws—the BLM is still required to meet the demands

of NEPA, FLPMA, and the FRH regulations, but just not prior to the renewal of those permits.”)

(analyzing Section 325). After the required environmental review is completed, permits may then

be canceled, suspended, or modified. Defendants’ argument that they were subject to a “NEPA

exclusion” is incorrect. Because Defendants do not argue, and the record does not support, that

Defendants intend to conduct a NEPA analysis in the future, reliance on § 1752(c) does not

refute Plaintiffs’ likelihood of success on the merits of this claim.




       13
           Before this amendment, a similar provision was contained in the terms of an
appropriations rider, Sec. 325 of Pub. L. No. 108-108 (2003) (“Section 325”), which was in
effect through 2014 through operation of Sec. 415 of Pub. L. No. 112-74 (2011), as amended and
extended by Sec. 411 of Pub. L. No. 113-76 (2014).

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               b. Categorical exclusion

       Plaintiffs allege that Zinke and BLM did not perform the proper NEPA analysis. As

noted above, there is no evidence or argument that Defendants will conduct a NEPA analysis at a

reasonable time in the future as authorized by § 1752(c)(2). Indeed, BLM issued the CX, which

concluded that no further NEPA analysis was required. Thus, the question is whether Plaintiffs

are likely to succeed on their claim that the CX violated NEPA and the GSG-ARMPA.

       A CX is “a category of actions which do not individually or cumulatively have a

significant effect on the human environment.” 40 C.F.R. § 1508.4. The FLPMA authorizes the

use of a CX for a grazing permit if “the issued permit or lease continues the current grazing

management of the allotment.” 43 U.S.C. § 1752(h)(1)(A) (emphasis added). The Secretary also

must have found that the allotment meets all the Rangeland Health Evaluation standards, or if

not, that it failed standards “due to factors other than existing livestock grazing.” Id.

§ 1752(h)(1)(B)(ii)(1)(bb) (emphasis added). Finally, even if both of those two criteria are met,

the Secretary may not use a CX if there are “extraordinary circumstances in which a normally

excluded action may have a significant environmental effect.” 40 C.F.R. § 1508.4. Such

circumstances include when an action may cause “significant impacts on . . . ecologically

significant or critical areas,” or when an action may “[c]ontribute to the introduction, continued

existence, or spread of noxious weeds or non-native invasive species.” 43 C.F.R. § 46.215(b), (l).

       BLM found that the Permit qualified for a CX and that no extraordinary circumstances

were present. Defendants simply state that the Court should defer to BLM’s findings in the CX,

without providing further argument, evidence, or authority. At the time that the CX was issued,

however, the four allotments had not been grazed in at least five years. Thus the “current”

grazing management was no grazing and the “existing” grazing was none. BLM did not explain

in the CX how the Permit met the requirements of § 1752(h)(1)(A) when there was no “current”
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grazing that the Permit maintained, or of § 1752(g)(1)(B)(ii)(1)(bb) when at the time of the most

recent Rangeland Health Evaluation finding that grazing had not caused the failure of the

standards there had not been grazing for years.

       Amicus Oregon Farm Bureau Federation (“OFBF”) cites Wildearth Guardians v. U.S.

Forest Service to support the argument that BLM’s finding that the Permit continues current

grazing practices is likely to be upheld on review on the merits. 668 F. Supp. 2d 1314 (D.N.M.

2009). The court in Wildearth, however, noted that the relevant agency regional office had

defined “current grazing management” as management implemented over the last three to five

years. Id. at 1327. Where no current management plan is in place, then only the “implementation

or modification of minor management practices, facilities, and improvements may be

categorically excluded.” Id. The court further recognized that the agency could implement

“adaptive management flexibility that has been responsive to needed adjustments in permitted

actions” based on changed circumstances. Id. at 1328. The management over the last three to five

years of the Mud Creek and Hardie Summer allotments was no grazing. Allowing grazing from

no grazing is not a “minor” management plan and is not indicative of “adaptive management

flexibility” that is responsive to new circumstances.

       OFBF also argues that allowing the CX is consistent with the legislative history of the

appropriations riders and subsequent amendment to the FLPMA that allows for such exclusions.

OFBF notes that permitting a CX in permit renewals was intended to make the environmental

review process more efficient for allotments where the level of complexity of environmental

issues is “negligible” and that applies in to this CX. This conclusion, however, puts the cart

before the horse. The problem with BLM not having conducted an EA or EIS on the allotments,

particularly after the 2015 GSG-ARMPA was passed, is that is unknown whether the level of



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complexity of environmental issues in negligible on these allotments. To the contrary, they have

a history of failing at least Standard 5, which indicates that there are environmental concerns.

       In analyzing whether extraordinary circumstances exist, BLM provided brief, conclusory

rationale. Regarding the effect on migratory birds and on ecologically significant or critical

areas, BLM stated: “The proposed action to continue livestock grazing as it currently exists

would not alter any of the available landscape; there would be no effect to migratory birds or

their habitat.” ECF 7-4 at 3. Regarding the spread of noxious weeds or non-native invasive

species, BLM stated: “Noxious weeds are known to be present in and in close proximity to these

allotments. Treatments are on-going. The weeds are currently not present in sufficient quantity to

be considered a significant impact in these allotments.” Id. at 5. BLM did not, however, analyze

how or whether grazing would affect the treatment of these noxious weeds or the spread of these

“known” weeds. BLM also did not address invasive grasses,14 even though the 2018 Rangeland

Health Evaluations specifically found that the allotments failed Standard 5 in part because of

annual invasive grasses. ECF 21-2 at 3; ECF 39-2 at 3; ECF 39-3 at 4; see also ECF 22 at 10

(Ms. McCormack stating in her first declaration that the assessed allotments were found in 2018

to fail Standard 5 because of “western juniper presence, lack of sagebrush, and annual invasive

grass contributing to risk of future wildfire as it relates to Greater sage-grouse”); ECF 23 at 7

(Mr. Matthew Obradovich stating in his first declaration that the assessed allotments were found

in 2018 to fail Standard 5 “due to the persistence of juniper, the increase in invasive annual




       14
           It is unclear whether BLM considered the invasive grasses to be “noxious weeds.” It
does not appear so, because the noxious weeds were noted not to have a substantial impact and
the invasive grasses were found to be a reason the allotments failed Standard 5. Even if the
invasive grasses and noxious weeds were considered the same thing, as discussed, BLM did not
sufficiently analyze this category.

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grasses and the continued lack of sagebrush where it had been eliminated in the 2006 Granddad

Fire”).

          Contrary to Defendants’ argument, the Court gives only limited deference to an agency’s

conclusory opinion that is unsupported by meaningful analysis. See Garcia v. Holder, 659

F.3d 1261, 1267 (9th Cir. 2011) (“Where the [the agency’s] decision does not give thorough

reasoning, but instead is conclusory or lacks meaningful analysis, we give that decision only

limited deference.”); Guevara v. Holder, 649 F.3d 1086, 1091 (9th Cir. 2011) (giving only

“some deference” to an agency opinion that “lacks a thorough and meaningful analysis”).

Plaintiffs have shown a likelihood of success on the merits on their claim that BLM’s issuance of

the CX violated NEPA.

B. Likelihood of Irreparable Harm

          Plaintiffs allege that they are likely to suffer irreparable harm before this case is resolved

on the merits if grazing is not enjoined from harm to sage-grouse and redband trout, harm from

the procedural violation of Defendants’ failure to comply with NEPA, and harm to Plaintiffs’

personal interests in the use and enjoyment of the allotments in their ungrazed state. Defendants

and OFBF argue that Plaintiffs fail to demonstrate with sufficient likelihood that they will suffer

irreparable harm based on the following: (1) the Rangeland Health Evaluations BLM conducted

on the allotments; (2) the evidence from Defendants’ experts; (3) the history of grazing on the

allotments; and (4) the fact that the land can recover from grazing and thus harm is not

irreparable. The Court first addresses Defendants’ evidence and then considers the harm alleged

by Plaintiffs.




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       1. Defendants’ Evidence

               a. Rangeland Health Evaluations

       BLM’s 2018 Rangeland Health Evaluation on the Mud Creek and Hardie Summer

allotments concluded that neither met Standard 5 relating to species. According to BLM, these

allotments failed the standard because of fire damage, juniper encroachment, and invasive

grasses. BLM found that Mud Creek was suitable for sage-grouse leking and brood rearing and

that Hardie Summer was had suitable year-round conditions for sage-grouse habitat. The sage-

grouse habitat was rated as “marginal.”

       The Rangeland Health Evaluation, however, is not an analysis of harm to species or

habitat by the proposed action. Nor is it a comprehensive analysis of the type required by NEPA.

The Mud Creek analysis involved a review of only three of the 8,200 acres (0.00036 percent) and

the Hardie Summer analysis involved a review of only three of the 6,000 public acres (0.001

percent). The 2018 Hardie Summer and Mud Creek evaluations specifically acknowledged that

an Assessment, Inventory, and Monitoring project was ongoing and that the analysis relating to

sage-grouse and its habitat required the completion of the collection of data, expected by 2020.

The Rangeland Health Evaluations also do not analyze the effects of the grazing authorized in

the Permit on redband trout or sage-grouse or their habitat. Rangeland Health Evaluations are not

an evaluation of a proposed action, but “are expressions of the physical and biological condition

or degree of function necessary to sustain healthy rangeland ecosystems.” Standards for

Rangeland Health and Guidelines for Livestock Grazing Management for Public Lands

Administered by the Bureau of Land Management in the States of Oregon and Washington, at 3

(August 12, 1997).

       Additionally, the Rangeland Health Evaluations did not consider the cumulative impacts

of grazing on the four allotments but instead assessed each allotment individually. A NEPA

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analysis of these allotments likely would require consideration of cumulative impacts, which

might reveal environmental effects that an individual analysis does not. See Watersheds Project

v. Bennett, 392 F. Supp. 2d 1217, 1223-24 (D. Idaho 2005), modified in part sub nom. W.

Watersheds Project v. Ellis, 803 F. Supp. 2d 1175 (D. Idaho 2011) (rejecting a cursory analysis

in an EA involving grazing allotments that did not include a detailed cumulative impact

analysis); W. Watersheds Project v. Rosenkrance, 2011 WL 39651, at *12 (D. Idaho Jan. 5,

2011) (“BLM’s rangeland health assessment process may complement NEPA; it does not

displace NEPA’s requirement that BLM take a ‘hard look’ at the cumulative impacts of a

proposed action.”). They also not evaluate factors such as connectivity to neighboring leks.

Simply put, “BLM’s rangeland health assessments are not NEPA documents.”

Rosenkrance, 2011 WL 39651, at *12.

       Defendants did not perform an EIS or even an EA on the allotments. Defendants’ reliance

on the Rangeland Health Evaluations as evidence that the proposed grazing will not cause harm

to species or habitat is misplaced because those evaluations serve a different purpose and

perform a different analysis.

               b. Evidence from Defendants’ experts

       Defendants’ expert Mr. Obradovich relies on the Rangeland Health Evaluations as

providing “a sound basis” for concluding that the grazing allowed from 2004-2014 was not

excessive or improper. As discussed above, these evaluations are not a sufficient basis to

conclude that the proposed grazing will not now cause irreparable harm. Mr. Obradovich also

opines that because the number of sage-grouse males increased on the leks on Mud Creek

between 1995 and 2005, grazing must not be causing harm that led to the reduction in sage-

grouse after 2006. This, however, does not take into account the cumulative effect of the harm

from the fire in 2006 plus grazing on the allotment after the fire. Mr. Obradovich did not discuss,
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as Plaintiffs’ experts do, how an ecological system that could handle a certain level of grazing

before a fire cannot handle that same level of grazing after a fire. See, e.g., Dyer, 2009

WL 484438, at *27 (ordering, when sensitive species including sage-grouse were involved, that

after a fire “BLM must abandon the grazing-as-usual model used in the 2008 authorizations, and

modify grazing levels and seasons-of-use in the unburned areas”). Additionally, as

Mr. Obradovich notes, climate change and other ecological factors affect sage-grouse. BLM did

not evaluate the proposed grazing in combination with those other factors.

       Ms. McCormack also relies on the Rangeland Health Evaluations as “demonstrate[ing]

livestock have been grazing properly over time.” ECF 22 at 13; see also ECF 40 at 14. She

concludes that continuing grazing at the same levels means continuing land management “that

has helped facilitate and allowed for improved riparian areas in these allotments between at

least 1980 and 2014.” ECF 22 at 14; see also ECF 40 at 17. She emphasizes improvements to the

riparian areas of the Hammond and Mud Creek allotments, because cattle do not have much

access to those areas (unlike in the Hardie Summer riparian areas).

       In their declarations, both of these experts also generally discuss the benefits of “properly

managed” grazing, but neither analyze what properly managed grazing would be on these

particular allotments given their current states—post-fire, with current vegetation levels, with the

current status of sage-grouse and redband trout and their habitat, with current climate conditions,

and in light of other ecological factors. Defendants’ experts discuss the recent historical grazing

practice as if that necessarily is a model of what is “proper” grazing. Determining proper

grazing, however, is what a NEPA analysis is for. It allows BLM to analyze the environmental

effects of a proposed action and to consider alternatives to that action. At this point, BLM does




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not know the environmental effects of the proposed grazing on the allotments as they stand today

or alternative levels of grazing because that analysis was not performed.

       Ms. Lindsay Davies relies on Proper Functioning Conditioning (“PFC”) assessments

from 1999 and 2006 when grazing was active as supporting that grazing will not harm riparian

conditions. Those evaluations, like Rangeland Health Evaluations, are not comprehensive.

Indeed, BLM has specifically explained in describing the function of a PFC that it is not intended

to evaluate fish habitat. The PFC Technical Reference guide states:

               A PFC assessment provides fundamental information regarding the
               physical function and condition of the riparian area; however,
               additional information is often needed to obtain a comprehensive
               assessment of riparian condition. Fish or wildlife habitat and water
               quality assessments are examples of additional resource
               assessments that may be needed to characterize overall riparian
               condition in preparation for subsequent activities. Often these
               assessments can be done simultaneously with the PFC assessment.

ECF 42-2 at 16.

       Additionally, the 1999 and 2006 PFCs do not include current conditions such as the

effects of climate change and fire. In other words, if the ecological condition of the riparian

areas, including stream temperatures, are stressed by factors such as climate change and higher

temperatures in recent years, or neighboring areas that have been and have not yet recovered,

then adding grazing may cause harm that was not previously present when the earlier

assessments were completed. Courts also have questioned the weight that PFC assessments and

experts relying on them or their methodology should be given when assessing the status of

riparian areas. See, e.g., Oregon Nat. Desert Ass’n v. U.S. Forest Serv., 2004 WL 1293909, at *7

(D. Or. June 10, 2004) (“[T]he PFC method is a qualitative method. Rhodes cites to numerous

sources which question the usefulness of the methodology because it is considered highly

subjective.” (emphasis in original)); Oregon Nat. Desert Ass’n v. Singleton, 47 F. Supp. 2d 1182,


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1190 (D. Or. 1998) (noting that a PFC “does not reveal how ‘properly functioning riparian areas’

or ‘at risk’ areas correspond to the requirements of the [Wild and Scenic Rivers Act],” which is

to protect and enhance the river’s “outstandingly remarkable values”).

       Ms. Davies also relies on the Oregon Department of Fish and Wildlife’s 2018 Draft

Malheur Lakes Redband Conservation Plan (“Draft Redband Conservation Plan”), which

included a population risk assessment of the population that includes the redband trout in the

allotments as being at “low risk” of extinction. This Draft Redband Conservation Plan, however,

described the headwater streams as “close to pristine and capable of supporting a healthy

population of redband trout.” Ms. Davies does not discuss whether grazing on the allotments

would affect the “close to pristine” streams and if so whether it would affect population of

redband trout on the allotments. Additionally, the fact that a population is “robust” does not

mean that grazing will not negatively affect the population’s habitat. Moreover, the draft

document discussed the entire population in the relevant region, not the specific population on

the streams in the allotments or whether affecting those populations would have a cumulative

effect on the populations in the region.

               c. Past grazing

       The fact that there was grazing in the past does not mean that Plaintiffs cannot

demonstrate likely irreparable harm. This is so for several reasons. First, there is nothing in the

record to indicate that BLM has ever performed an EA or EIS on the proposed grazing, and thus

the previous grazing may have been causing irreparable harm to sage-grouse and redband trout

without BLM’s knowledge. Second, circumstances have changed since the previous grazing,

including both climate change causing increased temperatures and the passage of the GSG-

ARMPA requiring additional protection for sage-grouse.



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                d. Ability of the allotments eventually to recover

        OFBF argues that because the allotments will eventually recover, including the recovery

Plaintiffs argue has been made during the last five years, any harm from grazing is not

irreparable. OFBF misinterprets “irreparable” harm. Harm is “irreparable” when it cannot “be

adequately remedied by money damages and is often permanent or at least of long duration.”

Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 545 (1987). Although sagebrush may recover

within 50 to 100 years and riparian areas take 20 years to recover, that does not mean that harm

to this habitat is not irreparable. Trees can be replanted and will grow and yet logging is

regularly found to be irreparable harm. See, e.g., Connaughton, 752 F.3d at 764 (“Neither the

planting of new seedlings nor the paying of money damages can normally remedy such damage.

The harm here, as with many instances of this kind of harm, is irreparable for the purposes of the

preliminary injunction analysis.”). Moreover, harm to the redband trout and sage-grouse

themselves may also be irreparable harm.

        2. Likely Harm to Sage-Grouse

        Livestock grazing is likely to cause destruction of sage-grouse habitat. Dyer, 2009 WL

484438, at *11, *13. “Livestock can also trample or disturb [sage-grouse] nests and cause

nesting females to flush from the nest, revealing the eggs to nest predators such as ravens.” ECF

41 at 7 (Obradovich Second Declaration). Sage-grouse have been reported by BLM employees

on both Mud Creek and Hardie Summer allotments. Both of these allotments failed Standard 5

relating to species.

        The South Bridge Creek lek on the Mud Creek allotment has declined to only two males

and the North Bridge Creek leks also have been declining, and one is now unoccupied. Plaintiffs

have shown that it is likely that these already fragile populations are exposed to greater risk if

grazing is recommenced. Plaintiffs’ expert opines that grazing on the Mud Creek allotment will

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likely lead sage-grouse to abandon the South Bridge Creek lek and it may affect the North

Bridge Creek leks as well. Defendants’ expert agrees that there is connectivity between the Mud

Creek allotment and the surrounding allotment. Thus, harm to this lek is likely to affect

neighboring leks.

       The U.S. Fish & Wildlife Service recognizes that high grass cover is “critical for

reproductive success” in sage-grouse and that “the average nest success for sage-grouse in

habitats where sagebrush has not been disturbed is higher than for sage-grouse in disturbed

habitats.” U.S. Fish & Wildlife has recognized that high grasses, in and of themselves, can serve

as nesting habitat for sage-grouse. Grasses are more important from April through August during

a critical nesting time period.

       The Mud Creek and Hardie Summer allotments suffer from cheatgrass invasions after the

fire. “Livestock grazing is one vector by which cheatgrass and other invasive weeds are spread

into and then displace native vegetation.” Dyer, 2009 WL 484438, at *11; see also Blue

Mountains Biodiversity Project v. U.S. Forest Serv., 229 F. Supp. 2d 1140, 1148 (D. Or. 2002)

(noting that the “increasing spread of noxious weeds[,] especially by cattle” needed to be

considered in a new EIS). Cheatgrass also reduces the likelihood of sagebrush recovery and

increases the risk of fire. Dyer, 2009 WL 484438, at *7, 10-11.

       Plaintiffs’ expert Dr. Clait E. Braun opines that the added stressor of grazing on the

allotments could extirpate the local sage-grouse population, harming connectivity with adjacent,

larger sage-grouse populations. Plaintiffs’ expert also discusses the importance of the lek located

on the Mud Creek allotment, the danger to hens and chicks in June-August that are likely

nesting, and the importance of high grasses and forbs to hens and chicks.




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       Defendants’ expert Mr. Obradovich states that he has seen females coming to breed in the

lek on the Mud Creek allotment. Defendants’ expert notes generally that sage-grouse avoid areas

with greater than four percent juniper, although he does not state that any particular area of the

Mud Creek allotment has greater than four percent juniper. He also states generally that the

nearest “suitable” sagebrush for nesting is three miles from the Mud Creek lek. He does not,

however, state that he has not observed any nesting on the Mud Creek allotment. High grasses

can also provide habitat for nesting.

       When Plaintiffs’ expert Dr. Braun visited the Hardie Summer allotment, he saw two

sage-grouse. BLM employees also reported in June 2018 that sage-grouse use that allotment. The

Hardie Summer allotment is of particular importance because it has the “best” sage-grouse

habitat after the 2006 fire set by the Hammonds. The months of July and August are an important

period for rearing sage-grouse young, and livestock disturbance during these months can cause

irreparable harm to nests, hens, and chicks.

       The Court considers the known damage caused by livestock, risk to nests, hens, and

chicks in the next few months, fragile state of the Mud Creek lek, importance of the remaining

sage-grouse habitat on the Hardie Summer allotment after the 2006 fire, fact that the allotments

contain areas designated as PHMAs and GHMAs, and fact that a single grazing season with too

much grazing is likely to eliminate the ecological gains of the last five years on the Hardie

Summer allotment. In light of these factors, Plaintiffs have shown likely irreparable harm to

sage-grouse and their habitat from the grazing authorized in the Permit.15



       15
           The Court disagrees with OFBF’s argument that even if the Mud Creek lek is
extinguished and the sage-grouse on these allotments perish it is insufficient to demonstrate
irreparable harm because Plaintiffs do not demonstrate harm to the entire species. First, Plaintiffs
have shown that extinguishment of the Mud Creek lek will affect neighboring leks. Second,
Plaintiffs do not need to show irreparable harm at the species level. “Irreparable harm should be
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       Plaintiffs fail to meet their burden, however, of showing irreparable harm from a single

grazing season under Defendants’ amended grazing proposal of a 30 percent utilization standard

on the Hardie Summer pastures other than the Fir Creek pasture, which would be rested.

Plaintiffs’ expert Dr. Braun testified that 30 percent utilization on the Hardie Summer allotment

would be “proper” and would not cause irreparable harm. All of Defendants’ experts who

testified at the evidentiary hearing opined that 30 percent utilization (and higher) would not

cause irreparable harm.

       The only expert to testify that the proposed 30 percent utilization on the Hardie Summer

allotment would cause irreparable harm was Plaintiffs’ expert Dr. J. Boone Kauffman. After

considering all of the testimony and evidence submitted by the parties, the Court finds the

evidence more persuasive that one season of 30 percent utilization on the Hardie Summer

allotment other than the Fir Creek pasture is not likely to cause irreparable harm to sage-grouse.

This is because of the current good condition of much of the allotment, the presence of sagebrush

habitat on the allotment that is available to sage-grouse and is not likely to be where the cattle

will graze, the reduced level of utilization likely allows for sufficient grasses and forbs for both

cattle and sage-grouse, and the reduced level of utilization is less likely to increase the spread of

cheatgrass.




determined by reference to the purposes of the statute being enforced.” Nat’l Wildlife Fed'n v.
Nat'l Marine Fisheries Serv., 886 F.3d 803, 818 (9th Cir. 2018). One purpose of the FLPMA is
to protect ecological resources such as species, the purpose of the GSG-ARMPA to conserve the
sage-grouse, and one purpose of the Steens Mountain CMPA is the conservation of species.
When protection of species is a purpose, this may be done in incremental steps. Id.; see also
Nat’l Wildlife Fed. v. Burlington N. R.R., 23 F.3d 1508, 1512 n.8 (9th Cir. 1994) (discussing with
approval a case in which only three to nine grizzly bears would have been killed as sufficient to
support an injunction under the ESA).

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       3. Likely Harm to Redband Trout

       Livestock grazing is known to cause harm to riparian habitat. Oregon Wild, v. Constance

Cummins, 239 F. Supp. 3d 1247, 1277 (D. Or. 2017); Oregon Nat. Desert Ass’n v. Tidwell, 716

F. Supp. 2d 982, 991 (D. Or. 2010). The riparian areas in Hardie Summer are accessible to

livestock.

       Defendants’ expert Dr. Tamzen K. Stringham and Plaintiffs’ expert Dr. Kauffman both

discuss how willow trees in the riparian area currently show a normal growth instead of the

“mushroom shape” caused by grazing. They disagree over whether the willows were previously

affected by grazing and previously had a “mushroom shape.” The Court finds the evidence

persuasive that the willows were previously affected by grazing. Ms. Stringham relies on the

previous PFCs to generally conclude that reintroducing grazing would not negatively affect the

ecosystem function gains of the last five years. She does not address the changed circumstances

or the fact that PFCs do not analyze fish habitat. As discussed above, the Court does not give

much weight to the PFCs because they do not analyze fish habitat or effects on fish species in the

same manner as does a NEPA analysis.

       The Court is persuaded by the testimony of Plaintiffs’ experts that the riparian areas of

the Hardie Summer allotment are likely to face irreparable harm if the permitted grazing is

allowed to commence. As discussed above, the assessments conducted by BLM and relied on by

Defendants’ experts did not address the same issues. In light of the significant harm to riparian

habitat that cattle can cause, the sensitive status of redband trout, and the current status of the

Hardie Summer allotment’s recovery, Plaintiffs have demonstrated a likely irreparable harm to

redband trout and their habitat with the permitted grazing.

       Plaintiffs have not, however, demonstrated a likely irreparable harm to redband trout and

their habitat with the proposed reduced grazing plan. As discussed in the section relating to harm
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to sage-grouse, the amended grazing plan rests the Fir Creek pasture, which contains a large

portion of Little Fir Creek. The remaining four pastures will be grazed at 30 percent utilization,

which most of the experts opined will not cause irreparable harm given the current amount of

available vegetation on the Hardie Summer allotment. The evidence shows that there is sufficient

vegetation to support cattle and not place the riparian zones in jeopardy at the reduced level of

grazing.

       The Court has some concern, however, with the fact that the grasses and forbs will be

dying during the proposed grazing and the riparian areas will become more attractive to cattle.

The Court also is concerned with HRI’s history of noncompliance, including apparently grazing

beyond authorized AUMs, and BLM’s recent history of lax enforcement of permit terms with

this permittee and changing permit terms on the fly, without proper documentation and without

following required procedures, such as what occurred at the beginning of this grazing season on

the Hammond allotment. Accordingly, the Court will require BLM to monitor at least once per

month of the grazing season (July, August, and September) the actual usage on the Hardie

Summer allotment and the condition of a sample of the grazed riparian areas, and to file with the

Court within two weeks after the close of the permitted season on the Hardie Summer allotment

a report of the findings. Defendants will also be required to file the Actual Grazing Use Reports

completed by HRI for the Mud Creek and Hardie Summer allotments.

       4. Likely Harm to Plaintiffs’ Members’ Personal Use and Enjoyment

       Plaintiffs allege that their members will suffer irreparable harm in the loss of their

personal use and enjoyment of the allotments in their ungrazed state. Defendants do not respond

to this allegation. OFBF argues that this harm is de minimus and insufficient to support an

injunction because the allotments constitute a small part (39 square miles) of the

surrounding 5,125 miles. OFBF does not specify whether that surrounding 5,125 miles is public
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or private land, and thus whether it would be accessible to Plaintiffs for to view, experience, use,

and enjoy.

       The Ninth Circuit has held that loss of the ability to view, experience, and use a forested

area in its undisturbed state, even though there were significant other forested areas available,

sufficed to allege irreparable harm for a preliminary injunction. All. for the Wild Rockies v.

Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). Cottrell involved the harvesting of 1,652 acres of

forest, and the Ninth Circuit concluded the ability to view, experience, and utilize that amount of

acreage was not de minimus. Id. The allotments here total 15,800 acres, and the loss of the ability

to enjoy them if they are irreparably harmed is not de minimus.16 Because the Court has found

grazing at the permitted level is likely to cause irreparable harm to the allotments, Plaintiffs have

shown a likely irreparable harm from the loss of their ability to view, experience, use, and enjoy

the allotments if grazing is allowed at the level in the Permit. Because the Court has found

grazing at the proposed reduced level is not likely to cause irreparable harm to the allotments,

Plaintiffs have not shown a likely irreparable harm in their ability to view, experience, use, and

enjoy the allotments if grazing is allowed at the reduced level.

       5. Likely Harm from NEPA Violation

       Plaintiffs argue that they have shown a likelihood of irreparable injury from Defendants’

alleged violation of NEPA. When a court finds a likelihood of success on the merits of a NEPA

claim coupled with likely environmental harm (as the Court finds in this case with grazing at the

permitted level), the NEPA violation generally is found to rise to the level of irreparable harm



       16
           Because short-term grazing is different than harvesting trees in a forest, the Court finds
that the loss of use and enjoyment analysis turns on whether the grazing would itself harm the
allotment. Otherwise, a plaintiff’s subjective statement that he or she desires to use and enjoy an
ungrazed parcel of land would suffice for a finding of irreparable harm.

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supporting preliminary injunctive relief. See, e.g., Brady Campaign to Prevent Gun Violence v.

Salazar, 612 F. Supp. 2d 1, 24 (D.D.C. 2009) (“When a procedural violation of NEPA is

combined with a showing of environmental or aesthetic injury, courts have not hesitated to find a

likelihood of irreparable injury.”) (citing cases); cf. Sierra Club v. Marsh, 872 F.2d 497, 500 (1st

Cir. 1989); Sierra Club v. U.S. Army Corps of Eng’rs, 990 F. Supp. 2d 9, 40-41 (D.D.C. 2013).

This is because

               [t]he NEPA duty is more than a technicality; it is an extremely
               important statutory requirement to serve the public and the agency
               before major federal actions occur. If plaintiffs succeed on the
               merits, then the lack of an adequate environmental consideration
               looms as a serious, immediate, and irreparable injury. Although the
               balancing of this harm against other factors is necessarily
               particularized, the injury itself is clear.

Found. on Econ. Trends v. Heckler, 756 F.2d 143, 157 (D.C. Cir. 1985) (emphasis in original)

(citations omitted).

       The First Circuit made a similar point in Marsh:

               NEPA is not designed to prevent all possible harm to the
               environment; it foresees that decisionmakers may choose to inflict
               such harm, for perfectly good reasons. Rather, NEPA is designed
               to influence the decisionmaking process; its aim is to make
               government officials notice environmental considerations and take
               them into account. Thus, when a decision to which NEPA
               obligations attach is made without the informed environmental
               consideration that NEPA requires, the harm that NEPA intends to
               prevent has been suffered. . . . Moreover, to set aside the agency’s
               action at a later date will not necessarily undo the harm. The
               agency as well as private parties may well have become committed
               to the previously chosen course of action, and new information—a
               new EIS—may bring about a new decision, but it is that much less
               likely to bring about a different one. It is far easier to influence an
               initial choice than to change a mind already made up.

               It is appropriate for the courts to recognize this type of injury in a
               NEPA case, for it reflects the very theory upon which NEPA is
               based—a theory aimed at presenting governmental decision-
               makers with relevant environmental data before they commit
               themselves to a course of action. This is not to say that a likely
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                NEPA violation automatically calls for an injunction; the balance
                of harms may point the other way. It is simply to say that a
                plaintiff seeking an injunction cannot be stopped at the threshold
                by pointing to additional steps between the governmental decision
                and environmental harm.”

Marsh, 872 F.2d at 500 (emphasis in original).

        Because the Court has found likely irreparable environmental harm with grazing at the

level authorized in the Permit, Plaintiffs have shown likely irreparable harm from Defendants’

alleged NEPA violations. Because, however, Plaintiffs have not shown likely irreparable

environmental or aesthetic harm at Defendants’ proposed alternative reduced grazing level, in

considering grazing at that level, Plaintiffs have not shown likely irreparable harm from

Defendants’ alleged NEPA violations.

C. Balancing the Equities

        In weighing equities, a court “must balance the competing claims of injury and must

consider the effect on each party of the granting or withholding of the requested relief.”

Winter, 555 U.S. at 24 (citation omitted). When the government is the defendant, generally the

balancing of the equities and the public interest factors merge. See, e.g., League of Wilderness

Defs./Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 766 (9th Cir. 2014).

Because there are interests of a third party (HRI) and amici, however, the Court finds it

appropriate to consider these factors separately. Id. (considering the factors separately in light of

the intervenors’ interests).

        Defendants present the same arguments, in almost the identical format, that they

presented in opposing Plaintiffs’ motion for a temporary restraining order. The Court rejects

those arguments for the same reasons the Court discussed in its TRO Opinion. W. Watersheds

Project v. Bernhardt, 2019 WL 2372595, at *14-16 (D. Or. June 5, 2019). The Court adds that



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the fact that vegetation can “grow back” does not change the balance of equities. The irreparable

harm alleged by Plaintiffs is not the short-term loss of vegetation eaten by cattle.

        Defendants also raise a new argument that there is an additional equitable consideration

relating to the fire danger that will be created if cattle are not permitted to graze in the

allotments. This argument is more appropriately considered in the public interest factor. See

Connaughton, 752 F.3d at 766. The Court finds that the balance of the equities tips in favor of

Plaintiffs.

D. Public Interest

        When determining the public interest, a court “primarily addresses impact on non-parties

rather than parties.” League of Wilderness Defs./Blue Mountains Biodiversity Project v.

Connaughton, 752 F.3d 755, 766 (9th Cir. 2014) (quoting Sammartano v. First Judicial Dist.

Court, 303 F.3d 959, 947 (9th Cir. 2002). When the alleged action by the government violates

federal law, the public interest factor generally weighs in favor of the plaintiff. See Valle del

Sol, 732 F.3d at 1029; see also Inland Empire-Immigrant Youth Collective v. Nielsen, 2018

WL 1061408, at *21 (C.D. Cal. Feb. 26, 2018) (“In addition, the Court again notes the public

interest that exists in ensuring that the government complies with its obligations under the law

and follows its own procedures.” (quotation marks omitted)); Coyotl v. Kelly, 261 F. Supp. 3d

1328, 1344 (N.D. Ga. 2017) (“[T]he public has an interest in government agencies being

required to comply with their own written guidelines instead of engaging in arbitrary decision

making.”).

        Defendants argue that because the underlying statutes governing the use of Steens

Mountain and public resources support “grazing,” as well as other uses, Plaintiffs fail to show

that the public interest favors a preliminary injunction. The statutes also, however, support

conservation. Thus, considering the purposes of those statutes is not particularly helpful in
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evaluating the public interest factor. Because NEPA’s purpose has not been met, however,

considering statutory goals and purposes tips slightly in favor of granting a preliminary

injunction.

       Defendants also argue that a preliminary injunction will cause an increased fire danger,

which is contrary to the public interest. Defendants’ experts Ms. McCormack and Mr. Obradovic

submitted declarations that briefly address this issue. Defendants also submitted the declaration

of lay witnesses Fred I. Otley, a neighboring ranch owner and President of the Steens Mountain

Landowners Group (“SMLG”), and Ruth E. Danielsen, a neighboring property owner, the Steens

Mountain Private Property Landowner Representative on the Steens Mountain Advisory

Council, and a member of SMLG. Amicus Harney County submitted the declaration of lay

witness Mark Owens, County Commissioner for Harney County.

       A claim of increased fire danger is given great weight when the claimed danger is

“imminent or the danger has begun.” Connaughton, 752 F.3d at 766. “Without evidence of an

imminent threat . . . the inability to mitigate such risks for a temporary period” generally does not

outweigh other public interests. Id.; Accord Bark v. United States Forest Serv., 2019

WL 2344771, at *3 (D. Or. June 3, 2019) (distinguishing Connaughton because the parcels at

issue “are assigned a high wildfire risk rating, and have a moderate to high risk of stand

replacing wildfire” (quotation marks omitted)).

       Defendants’ expert declarations and testimony at the hearing do not support a finding that

there is an imminent risk of increased fire danger, particularly on the Hardie Summer allotment

where the proposed grazing would predominately occur. Ms. McCormack does not state that a

lack of grazing by HRI in any of the allotments during the time period of a preliminary

injunction would increase fire danger. She merely discusses generally that grazing, when



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“properly prescribed” can have beneficial effects and discusses general research indicating that

“[p]roperly managed livestock grazing can decrease risk, size, and severity of wildfires and

decrease the risk of post-fire exotic annual grass invasion.” ECF 40 at 15 (citation omitted).

Mr. Obradovich states that “the potential exists in the absence of grazing for fine fuels such as

grasses, both native and invasive annuals, to accumulate over several years of growth to the

point where the accumulation becomes a hazard that would readily carry a more intense fire.”

ECF 41 at 8 (emphasis added). Mr. Obradovich’s declaration is speculative and describes a risk

that might occur in the future, not a risk that is currently present or imminent. At the hearing,

Mr. Obradovich’s testimony was similarly general in nature and did not describe a currently

present or imminent fire danger. Dr. Tamzen Stringham testified that she did not see any

cheatgrass on the Hardie Summer allotment and that there is low risk that cheatgrass can become

dominate on that allotment based on its ecological characteristics. She expressed no concern

about fire danger on that allotment. She testified generally regarding fine fuels and fire risk but

not specifically with respect to the Mud Creek (or Hardie Summer) allotment. Her concern

regarding the Mud Creek allotment was that without grazing cheatgrass would “maintain

control” of the allotment.

       Defendants’ and Harney County’s lay witnesses describe general concerns regarding

increased fuels from lack of grazing and that this causes an increase in the risk of a

“catastrophic” fire.17 Plaintiffs, however, provide expert testimony that grazing increases the

risk of fire by exacerbating the spread of cheatgrass. ECF 29 at 5; ECF 59 at 20-21; see also

Dyer, 2009 WL 484438, at *7, *11 (finding that “[t]he increased flammability of cheatgrass



       17
         Mr. Otley and Ms. Danielsen’s declarations also include improper legal conclusions
and expert opinions, which the Court disregards.

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causes increased fire intensity and frequency,” “[t]he proliferation of annual invasive grasses

(notably cheatgrass) is one of the leading causes of the heightened fire danger,” and “[l]ivestock

grazing is one vector by which cheatgrass and other invasive weeds are spread into and then

displace native vegetation”). Defendants’ expert Mr. Obradovich also testified at the hearing that

grazing is a vector by which cheatgrass can be spread. Additionally, the significant fire in 2006

(more likely than not set by the Hammonds), occurred after decades of grazing.

       Further, BLM specifically found that by denying the permit renewal to HRI, “the

Hammonds will no longer have the economic incentive to burn public land allotments without

authorization and endanger people.” ECF 7-2 at 17. Thus, BLM concluded that not renewing the

permit reduced the danger that the Hammonds would set more fires. In any event, the evidence

does not show that the claimed increase risk of fire danger is imminent.

       Defendants also argue that considering the harm to non-party HRI should result in the

Court finding that the public interest factor does not support issuing a preliminary injunction.

The Court discussed the harm to HRI in the TRO Opinion. W. Watersheds, 2019 WL 2372595,

at *15-16. Defendants offer no new argument or evidence that persuades the Court to change that

analysis.18 Defendants simply argue that the harm to HRI is greater with a preliminary injunction

than with a TRO. At the TRO stage, however, the Court had analyzed HRI’s harm considering

the cost of replacement grazing from June 1 through October 30, not the cost of replacing four

weeks of grazing (the term of the TRO). The harm to HRI is now less, because HRI has grazed

cattle for more than three months at a much higher level of AUMs than authorized in the Permit,


       18
         The Court disagrees with Defendants that the requested injunction is mandatory versus
permissive. The requested injunction would preclude grazing from commencing on the Mud
Creek or Hardie Summer allotments this year. The injunction would not require the round up and
removal of cattle from any allotment. The cattle simply would not be allowed to be moved onto
the Mud Creek or Hardie Summer allotments.

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due to BLM’s “calculation error.” Furthermore, limiting the injunction to only grazing above

Defendants’ alternative proposed grazing plan reduces the potential harm to HRI, because some

grazing will be allowed on the Hardie Summer allotment. Moreover, during the previous years

when HRI could not graze on federal land, the U.S. Department of Agriculture paid HRI a

significant increase in subsidies, indicating that such subsidies may be available to counter the

economic harm caused by a reduced ability to graze on federal land. ECF 57-6. For example,

from 2010-2013, the last four years of the previous grazing permit, HRI received a total of

$84,065 in subsidies. From 2014-2017, the first four years in which the permit was denied, HRI

received a total of $587,590 in subsidies, an increase of more than $500,000. Id.

       Harney County expresses concern about the potential public impact on other grazing

permittees arising from the legal precedent of enjoining in the “middle” of the grazing “season.”

As the Court discussed in its TRO Opinion, the facts here are unique. W. Watersheds, 2019

WL 2372595, at *15. Despite repeated requests, Defendants refused to provide Plaintiffs with the

Permit and CX until after grazing began. These documents were necessary for Plaintiffs to file a

motion for preliminary injunctive relief, particularly given the evidentiary burden on Plaintiffs to

obtain such relief. Thus, Plaintiffs were unable to file their motion before the grazing season

began due to Defendants’ behavior. Denying the motion on the grounds that it was filed after

grazing began would reward Defendants for their behavior and may encourage Defendants to

repeat this behavior as a strategy to prevail against future motions for preliminary injunctive

relief. Additionally, grazing has not yet begun on the Mud Creek and Hardie Summer allotments,

and thus grazing is not ongoing (or “in the middle”) on those allotments.

       Harney County also expresses concern that an injunction would exacerbate tensions in

the local community regarding federal land management. Harney County notes that these



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tensions have been heightened by the situation with Hammonds and with “outsiders” using that

situation in the standoff at the Malheur National Wildlife Refuge. Harney County requests that

the grazing be allowed to continue so that the community can “move on.” Although Harney

County’s desire to move on from a difficult period is understandable, as noted above courts have

long held that there is a strong public interest in having the government comply with governing

statutes and regulations. Additionally, if the community is sensitive to federal management of

public lands, ensuring that the federal government comply with the governing statutes and

regulations is of particular public importance.

       Harney County further argues that the economic effect on the community must be

considered. The only economic harm asserted, however, is the cost to HRI of finding alternative

grazing during the time period of the injunction and moving the cattle from the Hammond and

Hammond FFR allotments to that alternative location (instead of moving the cattle to the Mud

Creek and Hardie Summer allotments). There are no lost jobs or other community economic

harms asserted.19

       Some of Defendants’ witnesses and amici express concern about the Court permanently

enjoining all grazing on the allotments. Such an injunction is not before the Court. The Court is

considering a preliminary injunction of limited scope and limited duration, based on likely

irreparable harm that has been shown particularly because BLM did not perform the required

environmental assessment. The Court expresses no opinion regarding whether if BLM performs

the required environmental assessment and follows the applicable statutes and regulations in

reviewing and issuing a permit to HRI or any other person to graze cattle on the allotments such


       19
          The Court does not accept the conclusory assertion that because Harney County is a
“tight-knit community” enjoining HRI’s grazing would negatively affect the entire Harney
County agricultural economy for this year and into the future.

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grazing could or would be enjoined. Weighing all of the public interest considerations, the Court

finds that issuing a preliminary injunction is in the public interest.

E. Conclusion

        All four Winter factors weigh in favor of granting a preliminary injunction when

considering grazing at the level authorized in the Permit. Plaintiffs have met their burden to

demonstrate a need for preliminary injunctive relief until the Court decides the merits of this

case.

F. Bond

        For the reasons previously stated in the TRO Opinion, no bond is required.

                                 PRELIMINARY INJUNCTION

        Plaintiffs’ Motion for a Preliminary Injunction is GRANTED IN PART. Until the Court

resolves this case on the merits or orders otherwise, or until such time as the parties agree in

writing to amend, supersede, or terminate this Preliminary Injunction, IT IS ORDERED:

        1.       Defendants are enjoined from allowing turnout and grazing of livestock by

Hammond Ranches, Inc. on the Mud Creek allotment, except for when cattle quickly and

methodically trail through the allotment to reach the Hardie Summer allotment and, if needed,

return from the Hardie Summer allotment. Total time trailing through the Mud Creek allotment

may not exceed 14 days.

        2.       Defendants are enjoined from allowing turnout and grazing of livestock by

Hammond Ranches, Inc. on the BLM-controlled portion of the Hardie Summer allotment’s Fir

Creek pasture.

        3.       Defendants are enjoined from allowing turnout and grazing of livestock by

Hammond Ranches, Inc. on the BLM-controlled portions of the Hardie Summer allotment’s

remaining four pastures above a 30 percent utilization standard.

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       4.      Defendants shall monitor the actual use on the Hardie Summer allotment at least

once per month during the permitted grazing season on the allotment (July, August, and

September) and shall also review the condition of a sample of the riparian areas being grazed on

the allotment. On or before October 14, 2019, two weeks after the expiration of the permitted

grazing season on the Hardie Summer allotment (September 30, 2019), Defendants shall file

with the Court in this case a report of their findings from the monitoring. Defendants shall also

file with the Court in this case the Actual Grazing Use Report forms submitted by HRI on the

Mud Creek and Hardie Summer allotments within two weeks of receiving these forms from HRI.

                                         CONCLUSION

       Plaintiffs’ Motion for a Preliminary Injunction (ECF 7) is granted in part.

       IT IS SO ORDERED.

       DATED this 16th day of July, 2019.

                                                     /s/ Michael H. Simon
                                                     Michael H. Simon
                                                     United States District Judge




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